Cas

Oo Ce SN Dn An FP W YP

NO wo NH NHN HN NHN NY NY NO HK ee Ke He KF FF KF EF YF eS
oOo YD ODO WNW BP WD NO KH OD BO Fn DAH FP WY NY YF &

 

 

5:19-cv-00401-SB-KK Document1 Filed 03/04/19 Page lof24 Page ID#:1

DAN GETMAN (pro hac vice app. to be filed)
GETMAN, SWEENEY & DUNN, PLLC

260 Fair St.

Kingston, NY 12401

(845) 255-9370
dgetman@getmansweeney.com

SUSAN MARTIN (pro hac vice app. to be filed)
DAN BONNETT

JENNIFER KROLL

MARTIN & BONNETT, P.L.L.C.

1850 N. Central Avenue, Suite 2010

Phoenix, Arizona 85004

(602) 240-6900

smartin@martinbonnett.com
dbonnett@martinbonnett.com
jkroll@martinbonnett.com

 

 

 

EDWARD TUDDENHAM (pro hac vice app. to be filed)

23 Rue Du Laos

Paris, France

33 684 79 89 30
etudden(@prismnet.com

HOWARD Z. ROSEN, State Bar No. 54442
ROSEN MARSILI RAPP LLP

3600 Wilshire Blvd., Suite 1800

Los Angeles, CA 90010

(213) 389-6050

hzrosen@rmrllp.com

Attorneys for Plaintiffs

 
Cas

Oo co NY HDB WN FP W NY

NO NO NH NH WN NY NY NY NN YK LF FF FTF KF FF FF Fe YS lS
oOo aD A MW BB W NO KF ODO woe nANDX DAH F&F W NY FF C&O

@ 5:19-cv-00401-SB-KK Document 1 Filed 03/04/19 Page 2o0f 24 Page ID #:2

IN THE UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

SALVADOR CANAVA, individually No.
And on behalf of others similarly
situated, COLLECTIVE & CLASS
ACTION COMPLAINT
Plaintiffs,
VS.

RAIL DELIVERY SERVICES,
INCORPORATED AND GREG P.

 

 

STEFFLRE, JUDI GIRARD
STEFFLRE,
Defendants.
1. Plaintiffs are California based truck drivers who regularly drive

commercial vehicles in interstate commerce for Defendant RAIL DELIVERY
SERVICES, INCORPORATED (“RDS”) in California.

2. Defendant RDS is a privately-owned company headquartered in
California. It is owned and operated by Defendant GREG P. STEFFLRE to move
freight for customers of RDS.

Br This is an action for relief from Defendants' policy of willfully and
unlawfully misclassifying Plaintiffs as "independent contractors" and by that
system, failing to reimburse them for employment-related expenses and losses;
taking wrongful deductions from their wages; failing to provide meal and rest
breaks and/or premium pay, and failing to provide lawful minimum wages for all

hours worked in violation of the California Labor Code, California's Industrial

 

 
Cag

Oo Oo HN HD AW FP W YH

wo wo bw NH WN NH NN WN NO KF KF FP FP Fe FEF FEF Ele
Co YN ON AN BR WHO NY KF OO OHH DH BP WY NY KF ©

q

 

b 5:19-cv-00401-SB-KK Document1 Filed 03/04/19 Page 3o0f 24 Page ID #:3

Welfare Commission Wage Order No. 9 ("IWC Wage Order No. 9") and the Fair
Labor Standards Act (“FLSA”), 29 U.S.C. §201 et. seq.

4, By treating its Drivers as independent contractors instead of
employees, Defendants obtain a vast competitive advantage over competitor
trucking companies that treat their employee drivers as employees in compliance
with the law. As such, Defendants’ pay practices drive down trucker wages and
undercut fair labor practices in California and across the country.

5. Plaintiffs bring their federal minimum wage claims individually and
on behalf of other similarly situated Drivers under the collective action provisions
of the FLSA, 29 U.S.C. § 216(b).

6. Plaintiffs bring their state claims as a class action pursuant to Fed. R.
Civ. P. Rule 23.

7. Defendants require Plaintiffs to sign an Independent Contractor
Agreement (“ICA”) that states certain disputes between the parties “shall be
arbitrated according to the terms of the Federal Arbitration Act (9 U.S.C § 1, et
seq.)’.

8. The ICA and its arbitration provision do not apply to Plaintiffs (a) as
they are void as unconscionable and (b) the ICA and Defendants’ truck lease
agreements with Plaintiffs are exempt from coverage under the Federal Arbitration
Act.

9, Section 1 of the FAA, 9 U.S.C. §1, exempts, inter alia, contracts with
transportation workers engaged in commerce, regardless of whether they are
employees or independent contractors. Accordingly, the Federal Arbitration Act is
inapplicable to the claims asserted herein.

JURISDICTION

10. Jurisdiction is conferred upon this Court by 29 U.S.C. §216(b) of the

FLSA and by 28 U.S.C. §1331, as this action arises under laws of the United

 
Cag

Oo Oo HN DH nH BP WY NY

wo wo HN NH NH WN NY WN NO KH KR Fe YF KF FEF Fe EF le
oOo tN OA WNW BP W NY KFK& CO DO DWBA DB nH FP WY NY YF O&O

 

q

b 5:19-cv-00401-SB-KK Document 1 Filed 03/04/19 Page 4of24 Page ID #:4

States, and by 28 U.S.C. §1337, as this action arises under Acts of Congress
regulating commerce. Jurisdiction over Plaintiffs’ claims for declaratory relief is
conferred by 28 U.S.C. §§2201 and 2202.

11. This Court has supplemental jurisdiction over the state law claims
raised by virtue of 28 U.S.C. §§ 1332 and 1367 including § 1367(a).

VENUE

12, The Named Plaintiff SALVADOR CANAVA resides in California.

13. Defendants reside in California. Defendant RDS has its headquarters
and terminal in Central District. Defendant STEFFLRE works, and upon
information and belief, resides in Central District.

14. Venue is proper in the Central District of California, pursuant to 28
U.S.C. § 1391, because a substantial part of the events or omissions giving rise to
the claims occurred in Central District and at least one Defendant resides in Central
District.

PARTIES

15. The term "Plaintiffs" as used in this Complaint refers to the named
Plaintiff and all individuals represented pursuant to the collective action provisions
of 29 U.S.C. §216(b) as well as all putative Rule 23 Class Members as defined
below.

A. Named Plaintiff

16. Plaintiff SALVADOR CANAVA is a natural person residing in
California. CANAVA leased a truck from Defendants and signed Defendants’
Independent Contractor Agreement.

B. Represented Parties under FLSA

17. Named Plaintiff CANAVA brings this case under the collective action
provision of the FLSA as set forth in 29 U.S.C. §216(b) on behalf of himself and

similarly situated persons defined as “all individuals who lease(d) a truck from

 
Cag

Oo Oo HN DBR A BP WD NY

bo wo wp bh NY WN NY NY NN HB KH KF Re RP Fe Fe Ee ES
Oo YN DB Wn BP W NYO KF DOD OBO WA ANA Dn FP WD NY KF O&O

 

b 5:19-cv-00401-SB-KK Document 1 Filed 03/04/19 Page 5of 24 Page ID #:5

RDS to drive for RDS during the three years preceding the filing of the initial
complaint and through the date of final judgment herein and subject to any
equitable tolling for any applicable portion of the limitation period.” The putative
FLSA collective action is referred to herein as the FLSA Class.

C. Rule 23 Class Action Allegations

18. Named Plaintiff CANAVA brings the claims under California law set
forth herein under Rule 23 of the Federal Rules of Civil Procedure, on behalf of
himself and a class of similarly situated persons defined as “all individuals who
lease(d) a truck from RDS to drive for RDS in California during the limitation
period preceding the filing of the initial complaint and through the date of final
judgment herein and subject to any equitable tolling for any applicable portion of
the limitation period.” This proposed class is referred to herein as the Rule 23
Class.

19. Excluded from any Rule 23 Class and FLSA Class are Defendants’
legal representatives, officers, directors, assigns, and successors, or any individual
who has, or who at any time during the relevant class periods has had, a controlling
interest in any Defendants or supervised any other Plaintiffs.

20. The persons in the Rule 23 Class are so numerous that joinder of all
members is impracticable. The precise number of such persons is not known to
Named Plaintiff, however, the facts on which the calculation of that number can be
based are presently within the sole control of Defendants.

21. Plaintiff is informed and believes and, based upon such information
and belief, alleges that there are in excess of 100 members in the Rule 23 Class.

22. There are questions of law and fact common to the Rule 23 Class that
predominate over any questions solely affecting individual members of the Class,
including but not limited to:

a. Whether the Rule 23 Class members have provided services

 
Cag

Oo Oo HN DB Hn FP WD YN

NO wo NO NH NH WN ND NY NY KH KF Fe Fe RP KF KF EF EF eS
Oo ND OO WA BR WwW NO KF BD ODO OH DB Wn FP WY NY FY OS

 

 

p 5:19-cv-00401-SB-KK Document 1 Filed 03/04/19 Page 6of 24 Page ID #:6

to Defendants as employees rather than independent
contractors under California law;

Whether Rule 23 Class members have necessarily incurred
employment-related expenses and losses in performing their
duties for Defendants;

Whether Defendants have failed to indemnify Rule 23 Class
members for their necessary employment-related expenses
and losses in violation of Labor Code § 2802;

Whether Defendants' failure to indemnify Rule 23 Class
members for their necessary employment-related expenses
and losses constitutes an unlawful, unfair, and/or fraudulent
business practice under Business & Professions Code
$17200, et seq.;

Whether Defendants have made deductions from the
compensation paid to Rule 23 Class members in violation of
California law;

Whether Defendants' deductions from Rule 23 Class
members' compensation constitute an unlawful, unfair,
and/or fraudulent business practice under Business &
Professions Code § 17200, et seq.;

Whether Defendants have failed to provide Rule 23 Class
members with legally required off-duty meal periods and/or
compensation for missed meal periods in violation of Labor
Code §§ 226.7 and 512 and IWC Wage Order No. 9, § 11;
Whether Defendants’ failure to provide Rule 23 Class
members with legally required off-duty meal periods and/or

meal period compensation constitutes an unlawful, unfair,
Cag

Co wo nN HDB Wn FP WY NY

NON wo bw WH WN NY WN N NO Fe Fe FF KF HF FEF Kr FeO RE
oN BO UW BP WY NY KF OD ODO DW HN DB WH BPW NY FF O&O

 

p 5:19-cv-00401-SB-KK Document1 Filed 03/04/19 Page 7 of 24 Page ID#:7

and/or fraudulent business practice under Business &
Professions Code § 17200, et seq;

i. Whether Defendants have failed to authorize and permit
Rule 23 Class members with legally required off-duty, paid
rest periods and/or compensation for missed rest periods in
violation of Labor Code §§ 226.7 and IWC Wage Order No.
9, §12;

j. Whether Defendants' failure to authorize and permit Rule 23
Class members legally required off-duty, paid, rest periods
and/or rest period compensation constitutes an unlawful,
unfair, and/or fraudulent business practice under Business &
Professions Code § 17200, et seq.;

k. Whether Defendants imposed unconscionable and/or
unlawful lease and “Independent Contractor” contracts upon
Plaintiffs under Civil Code §1670.5;

1. Whether Defendants were unjustly enriched by imposition
of unconscionable contracts upon Plaintiffs;

m. Whether Plaintiffs are entitled to declaratory judgment as to
any of the claims identified herein; and

n. The nature and extent of Class-wide injury and the
appropriate measure of damages for the Classes;

23. The claims of Plaintiff are typical of the claims of the Rule 23 Class
he seeks to represent. insofar as he alleges that (a) Defendants have a policy and
pattern or practice of exercising the powers of an employer with respect to him and
the Rule 23 Class; (b) Defendants failed to pay him and the Rule 23 Class all
wages due, (c) Defendants made unlawful and excessive deductions from his

wages and the Rule 23 Class members’ wages and (d) failed to pay him and the

 
Cag

oO Oa HN HK OT BP WOW YH

oO NO PO NY NY NH NY NY NY KH Ke FF Fe Re eRe SE
oOo SYN NO OW BR WO NYO KF CO BO WH HN DB WT BPW NY KF &

 

b 5:19-cv-00401-SB-KK Document 1 Filed 03/04/19 Page 8 of 24 Page ID #:8

Class members the minimum wage for all hours worked, and failed to afford him
and the Class all meal and rest breaks required by law.

24. Plaintiff and his counsel will fairly and adequately represent and
protect the interests of the Rule 23 Class members.

25. Defendants have acted or refused to act on grounds generally
applicable to the Rule 23 Class, thereby making appropriate final injunctive relief
or corresponding declaratory relief with respect to the Rule 23 Class as a whole
under Fed. R. Civ. P Rule 23(b)(2).

26. The state law claims are properly maintainable as a class action under
Federal Rule of Civil Procedure 23(b). A class action is superior to other available
methods for the fair and efficient adjudication of this litigation, particularly in the
context of wage litigation like the present action, where individual Plaintiffs may
lack the financial resources to vigorously prosecute a lawsuit in federal court
against a defendant of this size and with greater resources. The members of the
Rule 23 Class have been damaged and are entitled to recovery as a result of
Defendants' common and uniform policies, practices, and procedures. In addition,
class treatment is superior because it will obviate the need for unduly duplicative
litigation that might result in inconsistent judgments about Defendants’ practices.

D. Defendants

27. Defendant RAIL DELIVERY SERVICES, INCORPORATED (RDS)
is a California business corporation that has its principal place of business in
Fontana, California.

28. Defendant GREG P. STEFFLRE, is a resident of the State of
California. He is an attorney, co-founder of RDS, and its Chief Executive Officer.
Plaintiff is informed and believes, and based upon such information and belief,
alleges that STEFFLRE has an ownership interest in the RDS, and purports to own
the copyright on the ICA used by RDS to employ the members of the class.

 
Cag

oO Oo NIN DH AH FS WwW NY

wo NO bP HN KN WN WN WN NY KH KH FHF Re FP HF SF S| SP
oOo nN DO WN BP W NBO K|& CO ODO WD IN DB Wn BPW NY KF O&O

 

b 5:19-cv-00401-SB-KK Document 1 Filed 03/04/19 Page 9of 24 Page ID #:9

29. Defendant JUDI GIRARD STEFFLRE is a resident of the State of
California. She is cofounder, Chairman and COO of RDS. Upon information and
belief, she has an ownership interest in the corporate defendant, and manages the
operations of RDS.

30. Plaintiff is informed and believes and based upon such information
and belief, alleges that the non-corporate Defendants are related individuals who
both have offices at the principal place of business of RDS in Fontana, California.

FACTS

31. Defendant RDS is a motor carrier that is engaged in the interstate
shipment of freight.

32. Defendants conduct business throughout the country.

33. Defendants, individually and collectively, constitute an enterprise
engaged in interstate commerce for purposes of the Fair Labor Standards Act.

34. Defendants have common control and a common business purpose
and are operated as a single enterprise, within the meaning of 29 U.S.C. 203(r)(1).

35. All actions and omissions described in this complaint were made by
Defendants directly or through their supervisory employees and agents.

36. Plaintiffs, including named Plaintiff CANAVA, entered into two form
documents with Defendant RDS, a truck Rental Agreement (hereafter “Truck
Lease”) and an ICA which purports to make the driver an independent contractor
of RDS for purposes of driving freight for RDS.

37. Plaintiff CANAVA signed Defendants’ ICA and Truck Tease with
RDS in September 2017 and thereupon began working for Defendants as a truck
driver.

38. Plaintiff CANAVA drove for Defendants in California pursuant to his
ICA and Truck Lease from in or around September 2017 to in and around April
2018.

9

 
Casd

Oo Oo HN DB Wn FBP WD NH

bo wo NO HN WH WN NY NN NO KR RB Re Se KP HF KF EF ES hl
Oo DO WN BP WO NO KF CO HO Fn HDB Wn FP Ww NY KH O&O

 

 

5:19-cv-00401-SB-KK Document1 Filed 03/04/19 Page 10 of 24 Page ID #:10

39. The Truck Lease and ICA are form agreements that are drafted by
Defendants and are presented to Plaintiffs as a package on a take it or leave it
basis. Together they formed a single contract.

40. The Truck Lease that Plaintiffs signed obligated them to
simultaneously sign and maintain an ICA with RDS.

41. The Truck Lease purports to bind Plaintiffs for a term of up to 5 or
more years.

42. The ICA has a term of one year in some instances.

43. While ICA and the Truck Lease state that Plaintiffs are independent
contractors, these contracts allow Defendants to exert nearly complete control over
Plaintiffs’ work and ensure that Plaintiffs cannot independently work for other
trucking companies.

44. Despite the declaration in the ICA and the Truck Lease that Plaintiffs
are “independent contractors,” Defendants treat Plaintiffs as employees as a matter
of law in that, inter alia:

a. Defendants’ agents inform Plaintiffs that they can only drive
for RDS and are not permitted to drive for other carriers.

b. RDS controls the manner in which the work is to be
performed;

c. RDS controls Plaintiffs’ opportunity for profit or loss
through its assignment of loads and trailers, and its setting of
compensation rates;

d. RDS owns Plaintiffs’ truck and controls Plaintiffs’
investment in equipment or materials required for driving
RDS freight,

€. RDS controls Plaintiffs’ employment of helpers;

f. RDS has the special skills necessary for the operation of a

10
Cas¢

oo Oo HN DH vn BP WW WN

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

5:19-cv-00401-SB-KK Document1 Filed 03/04/19 Page 11of24 Page ID#:11

trucking company — its sales force, its dispatchers, its
computer systems, its communications, GPS, billing and
payroll;

g. RDS controls the degree of permanence of the working
relationship; and

h. The services rendered by Plaintiffs are an integral part of the
business of RDS.

45. Plaintiffs fulfill the primary business in which RDS engages — the
transportation of goods for the customers of RDS.

46. Defendants dispatch Plaintiffs to jobs that it wishes them to perform.
Defendants monitor and control the time of Plaintiffs’ departure and the time of
arrival. Defendants can dictate and monitor the route Plaintiffs will travel.
Defendants give job instructions by a pre-printed manual with which Plaintiffs are
obligated to comply.

47. Defendants also give job instructions and monitor compliance with
those instructions by use of an on-board communications and GPS system, and by
telephone.

48. Defendants assign shipping work to the Plaintiffs through the on-
board communications and GPS system on which RDS sets the day and time for
pickup and delivery of freight.

49. Defendants monitor Plaintiffs’ exact location, speed, control of the
truck, route, estimated time of arrival, rest time and driving time, and other aspects
of job performance by the on-board computerized communications and GPS
system.

50. Defendants can seize a Plaintiffs truck, for many reasons, including
“there are negative material changes which, in [RDS] discretion, substantially

impact your business operations” and/or if a Plaintiff is deemed by RDS to be in

1]
Casd

Oo Oo HN DB Wn BP WO YN

wo wpO NP NH NH WN NY NHN NO KH FR Fe Re KP FF FF EF ESE lS
Oo yD DH Wn BFP WOW NO KY& CO DO DW NIN DB Hn FP WD NY KF O&O

 

 

5:19-cv-00401-SB-KK Document1 Filed 03/04/19 Page 12o0f24 Page ID #:12

breach of any term of the rental agreement or a material breach of the ICA.

51. By the terms of the Truck Lease, RDS does not lease to truck drivers
who will not drive for RDS.

52. The ICA provides that RDS may cancel the Plaintiffs’ contracts and
discharge Plaintiffs immediately with “cause,” or on 1 days’ notice without cause.

53. RDS may effectively discharge Plaintiffs at will on less than 1 day’s
notice by refusing to dispatch them.

54. If Defendants terminate a Plaintiff's ICA, Defendants are permitted to
take possession of the truck and insist that the remaining lease payments be paid to
RDS, even though Defendants’ termination of the ICA and the Truck Lease may
have caused the “default” and notwithstanding that any actual losses are capable of
determination and mitigation through re-leasing the truck, and that any losses are
far less than asserted by Defendants.

55. The ability to terminate the ICA is not mutual, as there are severe
consequences to a Plaintiff that terminates the ICA, including repossession of the
truck and the truck driver’s liability to Defendants for liquidated damages.

56. Because Defendants take possession of the truck upon discharge of a
Plaintiff, Plaintiffs are unable to use the truck to drive for other trucking
companies. Thus, Plaintiffs are often forced to endure working under Defendants’
exclusive control for the duration of their lease.

57. Defendants prohibit Plaintiffs from freely using the truck they lease
from Defendants by a variety of means, including but not limited to the following:

a. The ICA gives RDS exclusive control over the equipment.

b. Plaintiffs are not permitted to drive the vehicle other than for
the business of RDS.

Cs Plaintiffs cannot freely hire other truckers to work for them

without the approval of RDS.

12
Caséd

Oo OO YN HDB HW BP W NHN

NO NO HNO HN NH HY NHN NY NO HF HH KF HF KF KF Fr EF EF
oOo nN WO WD BP WwW NY YK CO Oo Fe ANAND nH FP WO NY | CO

business.

 

 

5:19-cv-00401-SB-KK Document1 Filed 03/04/19 Page 13o0f 24 Page ID#:13

RDS controls where the vehicle will be parked.

RDS controls what loads will be carried.

RDS owns the trailers used to carry freight for RDS.

RDS negotiates with shippers for the terms by which RDS
and Plaintiffs will carry freight.

RDS prohibits transfer or assignment or sublease of its
truck,

Defendants tell Plaintiffs they cannot drive for third parties.
RDS can put a Plaintiff in default for driving for another
trucking company without permission.

Merely requesting permission to drive for another trucking
company puts a Plaintiff at risk that RDS can put the
Plaintiff in default of the Truck Lease without cause, thereby
requiring Plaintiffs to pay the net aggregate lease balance
and surrender the truck at Plaintiffs’ expense.

While the ICA purports to permit Plaintiffs to perform work
for other trucking companies, Plaintiffs are effectively
compelled to work only for RDS during the terms of their

contract.

Defendants cannot show that Plaintiffs (a) are, in fact, free from the
control and direction of RDS in connection with the performance of the work, (b)
perform work for RDS that is outside the usual course of the business of RDS, and

(c) are customarily engaged in an independently established trade, occupation, or

As a result of the facts alleged in the foregoing paragraphs, Plaintiffs
are not properly be deemed independent contractors, but instead are employees of

RDS which has suffered and permitted and continues to suffer and permit Plaintiffs

13
Cas¢d

oS Oo NHN Dn Wn FP WY NY

BO wp Hb HN HN KN ND ND KN H- HF KF HF KF KF FeO Eel le
Oo NWO UW BP WY NY KFK CO ODO FH AN DBD A BPW NY YF CO

 

 

5:19-cv-00401-SB-KK Document1 Filed 03/04/19 Page 14o0f 24 Page ID #:14

to work.

60. Plaintiffs’ equipment lease requires them to make weekly payment of
a portion of the total lease price. The rental payment is deducted from each
Plaintiff's wage remittance for the lease of the Defendants’ truck.

61. Defendants deduct monthly fees for use of the on-board
communications and GPS which Plaintiff must rent/purchase from Defendants
(incurring additional pay deductions) or elsewhere.

62. Plaintiffs are required to pay money to Defendants for security which
has not been returned to Plaintiffs upon their termination.

63. The deductions described in the three preceding paragraphs are
business expenses of Defendants that act as deductions from Plaintiffs wages.
Other business expenses of Defendants that the Truck Lease and ICA require
Plaintiffs to bear are: rent and other fees for the truck; the communications and
GPS device by which Defendants send instructions to Plaintiffs; liability insurance
(indemnifying RDS); taxes; tolls; gas; maintenance, and a wide variety of other
charges.

64. Defendants deduct their business expenses, including those listed in
the preceding paragraph as well as, insurance premiums and security deposits from
Plaintiffs’ compensation.

65. Defendants coerce or compel Plaintiffs to purchase many of the items
listed above from Defendants or their preferred sources.

66. Named Plaintiff CANAVA is informed and believes, and based upon
such information and belief, alleges that Defendants claim the depreciation on the
trucks leased to Plaintiffs.

67. While Defendants’ scheme described herein shifts the costs of
maintaining RDS’ fleet and general business operations to Plaintiffs, Defendants

keep all the benefits. This scheme also shifts the risk of trucking business

14
Cas¢d

oS fe STD DBR nA HP WY NY

Bo wp NO HN HN WN NY WN NO YH Ke Fe Be Re Bee Se
oOo ND OA WN BR WOW NY KFK& CO DO DW HN WB AT BR Ww NY KF O&O

 

 

5:19-cv-00401-SB-KK Document1 Filed 03/04/19 Page 15o0f24 Page ID#:15

downturns from Defendants to Plaintiffs as Defendants are not obligated to give
Plaintiffs any specific amount of work while Plaintiffs have continuing obligations
to RDS under the lease, insurance policies and other matters.

68. RDS pays Plaintiffs by trip rates and other flat rates set by the
company.

69. Defendants do not guarantee any amount of work to Plaintiffs.

70. Defendants failed to pay Plaintiff the applicable federal and State
minimum wage for each hour worked in some weeks.

71. Defendants’ treatment of Plaintiffs as independent contractors caused
them loss of wages, additional tax burdens, insurance obligations, and a variety of
other monetary and non-monetary compensable harm.

72. Defendants' failure to pay Plaintiffs the proper wages required by law
was willful.

73. Defendants extracted profits by failing to pay Plaintiffs’ the wages
that would otherwise be due.

74. Defendants' unlawful conduct has been intentional, willful, and in bad
faith, and has caused significant damages to Plaintiffs and the Classes.

75. Defendants were aware or should have been aware that the law
required them to pay Plaintiffs and the Class Members’ minimum wages for each
workweek.

76. |The Truck Lease and ICA contracts are unlawful and unconscionable,
insofar as they (a) call for the employment of Plaintiffs but treat them as
independent contractors; (b) allow RDS to terminate Plaintiffs’ Truck Lease and
ICA but nevertheless require Plaintiffs to continue to make lease payments: (c)
shift Defendants’ risk of business downturn to Plaintiffs; (d) make Plaintiffs
responsible for the costs of carrying and maintaining Defendants’ fleet, and (e)

exact profits and reimbursements from Plaintiff- employees.

15
Cas¢d

Oo Oo NN DB A FP WY YN KF

NO NO WN HN HY HN NY WKH NN KH HF FF KF FF Fe RP Sl
oOo st OO WNW BW NO F§& CO OO fF HN DB A FP W NY YF O&O

 

 

5:19-cv-00401-SB-KK Document1 Filed 03/04/19 Page 16o0f24 Page ID #:16

77. By using the Truck Lease and ICA contract to misclassify Plaintiffs
and unlawfully shift the costs of their business to Plaintiffs, Defendants gained a
significant competitive advantage over competing trucking companies that treated
their employee-drivers as employees.

78. The ICA and the Truck Lease state that California substantive law
applies to the Parties.

79. Plaintiffs were engaged in interstate commerce while working for
Defendants pursuant to their Truck Leases and ICAs.

80. Trucks leased to Plaintiffs through RDS are registered with the
California Department of Motor Vehicles to RDS.

FIRST CLAIM FOR RELIEF
(Violation of the Fair Labor Standards Act)

81. Defendants failed to pay Plaintiffs federal minimum wages for each
hour worked in each work week in violation of the Fair Labor Standards Act, 29
U.S.C. §206 et seq. and its implementing regulations.

82. Defendants' failure to pay proper minimum wages for each hour
worked per week was willful within the meaning of the FLSA.

83. As adirect and proximate result of Defendants’ failure to comply with
the FLSA minimum wage protections, Plaintiffs suffered loss of wages, liquidated
damages, and interest thereon. As a further and direct result of Defendants’
unlawful conduct, as set forth herein, members of the FLSA Class, including
Plaintiff CANOVA, are entitled to recover costs and attorneys’ fees.

SECOND CLAIM FOR RELIEF
(Relief for unconscionable agreements)

84. Plaintiffs incorporate by reference as through fully alleged herein
Paragraphs | through 83, inclusive.
85. The Defendants’ Truck Lease and ICA are unconscionable.

86. The Defendants’ unconscionable agreements are void, or

16
Casd

oO A HN HDB nH BP WD YH

wo NO NO HN NH NY NY NN NO KH Ke Fe Fe Fe Fe Fe Ee SE
oOo nN NH WNW BP WHY NYO Ke CO BO DB HN WB A BP Ww NY KF O&O

 

 

5:19-cv-00401-SB-KK Document1 Filed 03/04/19 Page 17of24 Page ID#:17

alternatively, voidable by Plaintiffs under the common law.

87. The Defendants have been unjustly enriched by the unconscionable
terms of the contracts they imposed on the Plaintiffs.

88. Plaintiffs are entitled to restitution or damages in quantum meruit for
the value the Defendants’ unconscionable contracts conferred upon Defendants.

THIRD CLAIM FOR RELIEF
(Failure to pay the California minimum wage)

89. Plaintiffs incorporate by reference as though fully alleged herein
Paragraphs | through 88, inclusive.

90. Defendants failed to pay the minimum wage and all wages due to
Plaintiffs in violation of Labor Code sections 1194 and 1182.12, and IWC Wage
Order 9, Section 4.

91. Defendants failed to pay Plaintiffs the minimum wage in each week in
violation of Labor Code sections 1194 and 1182.12 and IWC Wage Order 9,
Section 4.

92. Asa further and direct result of Defendants’ unlawful conduct, as set
forth herein, the members of the Rule 23 Class, including Plaintiff CANOVA, are
entitled to recover minimum wages, liquidated damages, as well as costs and
attorneys’ fees pursuant to statute, all in a sum to be established at trial.

FOURTH CLAIM FOR RELIEF
(Failure to provide meal periods or compensation lieu thereof)

93. Plaintiffs incorporate by reference as though fully alleged herein
Paragraphs 1 through 92, inclusive.

94. At all relevant times, Defendants were under a duty to comply with
Labor Code sections 226.7 and 512 and IWC Wage Order No. 9.

95. Labor Code section 226.7 and IWC Wage Order No. 9 provide that if

an employer fails to provide a non-exempt employee with an appropriate of duty

17
Casd

oo Oe NI DH TH BP WY YN

Oo NNO NH NH NHN NH NY NHN NN KH KF KF FF KF KF KF EF ES
oOo nN OO AW BR WH NY KF CO OO ON HH FP WH NY KF O&O

 

 

5:19-cv-00401-SB-KK Document1 Filed 03/04/19 Page 18o0f24 Page ID#:18

meal period, the employer must pay the employee one (1) hour of pay at the
employee’s regular rate of compensation for each work day that the meal period is
not provided.

96. Pursuant to the polices and business practices of RDS, Rule 23 Class
members, including Plaintiff CANAVA, were not regularly provided adequate
meal periods as required by California law and were not compensated by
Defendants for each work day that adequate meal periods were not provided.

97. By failing to regularly provide timely uninterrupted and unrestricted
meal periods, during which members of the Rule 23 Class were relieved of all
duty, Defendants violated Labor Code sections 226.7 and 512, and IWC Wage
Order No. 9.

98. As a direct and proximate result of RDS’ unlawful conduct, as set
forth herein, the members of the Rule 23 Class, including Plaintiff CANAVA, are
entitled to unpaid wages and interest pursuant to statute, all in a sum to be
established at trial. As a further and direct result of Defendants’ unlawful conduct,
as set forth herein, the members of the Rule 23 Class, including Plaintiff
CANOVA, are entitled to recover various penalties as well as costs and attorneys’
fees pursuant to statute, all in a sum to be established at trial.

FIFTH CLAIM FOR RELIEF
(Failure to authorize and permit rest periods or compensation lieu thereof)

99, Plaintiffs incorporate by reference as though fully alleged herein
Paragraphs | through 98, inclusive.

100. At all relevant times, Defendants were under a duty to comply with
Labor code sections 226.7 and IWC Wage Order No. 9.

101. Labor Code section 226.7 and IWC Wage Order No. 9 provide that if
an employer fails to authorize and permit a non-exempt employee with an

appropriate of paid rest period, the employer must pay the employee one (1) hour

18
Cas¢d

oO OA HN DB nH BP WD YN

NON wp WP HN NH WH NHN WN NO KF KF KR KF KF KH KF FEF FE
oN ODO WOH BR WY NY KF ODO Oo HH DB AH FP WH NY KF CO

 

 

5:19-cv-00401-SB-KK Document1 Filed 03/04/19 Page 19o0f 24 Page ID#:19

of pay at the employee’s regular rate of compensation for each work day that the
rest period is not provided.

102. Pursuant to the polices and business practices of RDS, Rule 23 Class
members, including Plaintiff CANAVA, were not regularly authorized and
permitted by Defendants’ to take adequate rest periods as required by California
law and did not received compensation for each work day that adequate rest
periods were not provided.

103. Defendants failed to provide members of the Rule 23 Class, including
Plaintiff CANAVA, with timely rest periods of not less than ten (10) minutes per
four (4) hours or major fraction thereof worked as required by the Labor Code.

104. Asa direct and proximate result of Defendants’ unlawful conduct, as
set forth herein, the members of the Rule 23 Class, including Plaintiff CANAVA,
are entitled to unpaid wages and interest pursuant to statute, all in a sum to be
established at trial. As a further and direct result of Defendants’ unlawful conduct,
as set forth herein, the members of the Rule 23 Class, including Plaintiff
CANOVA, are entitled to recover various penalties as well as costs and attorneys’
fees pursuant to statute, all in a sum to be established at trial.

SIXTH CLAIM FOR RELIEF
(Failure to pay compensation timely upon severance of employment)

105. Plaintiffs incorporate by reference as though fully alleged herein
Paragraphs | through 104, inclusive.

106. Labor Code section 203 provides that if an employer willfully fails to
timely pay earned wages due to an employee who is discharged or quits, in
accordance with Labor Code sections 201 or 202, the employee’s wages continue
at the same rate until paid or until suit is filed, but not for more than 30 days.

107. Defendants have had a consistent policy of failing to timely pay
wages earned by members of the Rule 23 Class, including Plaintiff CANAVA,

19
Cas¢d

oOo Oa IN DB A BP WY YP

Oo NO NO NH NH WN NHN NN NN RM BB He HH HF Fe ee Ee Re
oOo nN OO Wn BR WO NY KF CO UO DW HN NDB A HP Ww NY KF O&O

 

 

5:19-cv-00401-SB-KK Document 1 Filed 03/04/19 Page 20 of 24 Page ID #:20

who have been discharged by Defendants or who have voluntarily quit. The
members of the Rule 23 Class, including Plaintiff CANAVA, earned the above-
described wages prior to their termination of employment or voluntary resignation.

108. Defendants willfully failed to pay said wages at the time said
members of the Rule 23 Class were discharged, or quite their employment, in
violation of Labor Code section 203. As a result, Plaintiff CANAVA and each
member of the Rule 23 Class who was discharged or voluntarily resigned is
entitled to a payment of up to 30 days’ pay at the rate that each such member of the
Rule 23 Class was paid at the time of separation of that employee’s employment
and an award of reasonable attorneys’ fees and costs pursuant to statute, all in
amounts to be proven at trial.

SEVENTH CLAIM FOR RELIEF
(Failure to comply with itemized employee wage statement provisions)

109. Plaintiffs incorporate by reference as though fully alleged herein
Paragraphs 1] through 108, inclusive.

110. Labor Code section 226(a) states that every employer shall,
semimonthly or at the time of each payment of wages, furnish each of its
employees, either as a detachable part of the check, an accurate itemized statement
in writing showing substantial detailed information, including but limited to, all
hours worked, rates of pay, and amounts paid.

111. Defendants failed to provide “accurate itemized statements’ to
members of the Rule 23 Class, including Plaintiff CANAVA, because the wage
statements failed to correctly state all items required by Labor Code section 226(a).

112. Members of the Rule 23 Class, including Plaintiff CANAVA, were
damaged by the failure of Defendants to comply with the requirements of Labor
Code section 226, and allege that such violations were knowing and willful.

Pursuant to Labor Code section 226(3), Plaintiff CANAVA and members of the

20
Cas¢

So Oo NY DB nA BP WY WY

bo wo NO NY KN NV WN NY KN KH KR YP FF FF YF PF KF Se
Oo aD OO ON B&R WD NY KH OO WOW HNT DH rH HR WD NY KF O&O

 

 

5:19-cv-00401-SB-KK Document1 Filed 03/04/19 Page 210f 24 Page ID#:21

Rule 23 Class are entitled to recover the greater of actual damages or $50 for the
initial violation and$100 per employee for each subsequent violation up to a total
of $4,000, plush reasonable attorney fees and costs, all in amounts to be proven at

trial.

EIGHTH CLAIM FOR RELIEF
(Violation of Labor Code sections 221 and 2802)

113. Plaintiffs incorporate by reference as though fully alleged herein
Paragraphs | through 112, inclusive.

114. Defendants made unlawful deductions from the pay due to members
of the Rule 23 Class, including Plaintiff CANAVA and failed to pay for employer
expenses borne by Plaintiffs in violation of Labor Code sections 221 and 2802 and
IWC Wage Order 9, Section 9.

115. Defendants coerced or compelled members of the Rule 23 Class,
including Plaintiff CANAVA, to patronize Defendants or others in the purchase of
things of value in violation of Labor Code section 450.

116. Defendants unlawfully made deductions from Plaintiffs' compensation
to cover certain ordinary business expenses of Defendants, including but not
limited to, payments for cargo equipment loss and damage through direct
withdrawals, insurance premiums and security deposits, in violation of Labor Code
§ 221 and IWC Wage Order No. 9, Section 8 and are thus liable to Plaintiffs for the
compensation that should have been paid but for the unlawful deductions, pursuant
to Labor Code § 221 and IWC Wage Order No. 9, § 8.

117. As a result of Defendants’ unlawful conduct, as set forth herein, the
members of the Rule 23 Class, including Plaintiff CANAVA, are entitled to be
compensated for the deductions from their compensation and an award of
reasonable attorneys’ fees and costs pursuant to statute, all in amounts to be proven

at trial.

21
Casa

oo Oe IN DBO A fF WY NY

DO No NO HN Hb NH NY WN NO HH YK KF BF FF FY KF Fe eS
Oo ND ODO WH Bh Ww NYO KF& ODO ODO WD nN Dn FP WY NY YK OC

 

5:19-cv-00401-SB-KK Document1 Filed 03/04/19 Page 22 of 24 Page ID #:22

NINTH CLAIM FOR RELIEF
(Violation of Business and Professions Code section 17200 et seq.)

118. Plaintiffs incorporate by reference as though fully alleged herein
Paragraphs 1 through 117, inclusive.

119. Defendants have engaged in unfair business practices in California by
utilizing and engaging in an unlawful pattern and practice of failing to pay properly
employee compensation as previously described herein, including without
limitation by not paying minimum wages, by not providing adequate meal periods
and rest periods, by failing to timely pay wages due and owing, and by failing to
pay for violations of Labor Code sections 203, 221, 226, 226.7, 450, 1182.12,
1194, and 2802.

120. Defendants’ use of such practices constituted and constitutes an unfair
business practice, unfair competition, and provides an unfair advantage of
Defendants’ competitors in California.

121. As a result of their unlawful acts and unfair business practices,
Defendants deprived members of the Rule 23 Class, including Plaintiff CANAVA,
of the wages and benefits they legitimately earned and Defendants have used these
wages and benefits for their own use and advantage. Defendants should be ordered
to restore to the Rule 23 Class, including Plaintiff CANAVA, their lost wages and
benefits. The restitution includes all wages earned and unpaid, including interest
thereon, all in an amount to be proven at trial.

WHEREFORE, Plaintiffs request that this Court enter an Order:

1. With respect to the FLSA violations

a. Declaring that Defendants violated the FLSA;

b. Approving this action as a collective action;

c. Declaring that Defendants’ violations of the FLSA were willful;
d. Granting judgment to Plaintiff CANOVA, and similarly situated

22

 
Casd

Oo Oo NY DB A BP WwW YN

ob NO NO HN NH WN NN NY NO KH KR Fe Be FP KF EF EF SE eS
Oo YN OA WN BP WY NHN FH OD HO Bn DB WA FP Ww NY KF O&O

 

 

5:19-cv-00401-SB-KK Document1 Filed 03/04/19 Page 23 0f 24 Page ID #:23

represented parties for their claims of unpaid wages as required
by the Fair Labor Standards Act, as well as an equal amount in
liquidated damages, and interest; and

e. Awarding Plaintiffs and represented parties their costs and

reasonable attorneys' fees.
2: With respect to the state law claims:

a. Certifying this action as a class action;

b. Designating Plaintiff CANOVA as the Class Representative;

e Designating the undersigned counsel as Class Counsel;

d. Entering a declaratory judgment that the practices
complained of herein are unlawful;

é. Fashioning appropriate equitable and injunctive relief to
remedy Defendants' violations of law, including but not
necessarily limited to an order determining that the contract
is void, or voidable, or alternatively severing any
unconscionable clauses and enjoining Defendants from
continuing their unlawful practices as described herein;

f. Awarding statutory, compensatory, liquidated damages,
appropriate statutory penalties, restitution and other make
whole relief to be paid by Defendants according to proof;

g. Awarding Pre-judgment and Post-Judgment interest, as
otherwise provided by law;

h. Granting such other legal, injunctive and equitable relief as
the Court may deem just and proper;

i Awarding Plaintiffs reasonable attorneys' fees and costs,

including expert fees and

23
 

Casq|5:19-cv-00401-SB-KK Document 1 Filed 03/04/19 Page 24 of 24 Page ID #:24
l
j. Awarding Plaintiffs such other and further relief as this
2
Court deems just and proper.
3
4 Dated: March 1, 2019 ; :
5 ,
Lil
6 AN GETMAN"
7 GETMAN, SWEENEY & DUNN, PLLC
260 Fair St.
8 Kingston, NY 12401
9 (845) 255-9370
10 dgetman@getmansweeney.com
11 SUSAN MARTIN
DAN BONNETT
12 JENNIFER KROLL
13 MARTIN & BONNETT, P.L.L.C.
4747 N. 32" St. Suite 185
14 Phoenix, Arizona 85018
15 (602) 240-6900
smartin@martinbonnett.com
16 dbonnett@martinbonnett.com
17 jkrol]/@martinbonnett.com
7 EDWARD TUDDENHAM
19 23 Rue Du Laos
Paris, France
20 33 684 79 89 30
21 etudden@prismnet.com
7 HOWARD Z. ROSEN
23 ROSEN MARSILI RAPP LLP
DA 3600 Wilshire Blvd., Suite 1800
Los Angeles, CA 90010
25 (213) 389-6050
26 hzrosen@rmrllp.com
27
38 Attorneys for PLAINTIFFS
24

 

 

 
